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                                          U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York
                                                   86 Chambers Street
                                                   New York, New York 10007


                                                    June 20, 2023

BY ECF
Hon. Edgardo Ramos
United States District Judge
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    ACLU et al. v. Customs and Border Protection et al., 21 Civ. 10430 (ER)

Dear Judge Ramos:

       This Office represents the defendant agencies in the above-referenced action brought
under the Freedom of Information Act. Pursuant to the Court’s order, I write respectfully to
provide the Court with an updated status report regarding the agencies’ outstanding searches and
productions in this case, some of which have been delayed from the agencies’ original estimates.

       Federal Bureau of Investigation: produced documents on June 21, November 15, and
             December 15, 2022; the remaining records are videos, which based on a
             preliminary review, the FBI would likely withhold in full. FBI has provided
             plaintiffs with some additional information regarding these videos and its
             anticipated basis for withholding them, and the parties’ discussions about them
             are continuing.

       U.S. Marshals Service: made productions on July 15, October 24, and December 16,
             2022, and on February 1 and March 13, 2023; this completed the production of
             documents by USMS itself. However, on May 26, 2023, USMS re-produced a
             document it had previously produced with fewer redactions, in light of a release it
             had made in another case. In its March 13 cover letter, USMS noted that it had
             sent five sets of referrals to other agencies (the Bureau of Alcohol, Tobacco,
             Firearms, and Explosives (“ATF”); the Drug Enforcement Administration
             (“DEA”); the Department of Justice’s Office of Information Policy (“DOJ-OIP”);
             the Federal Law Enforcement Training Center (part of the Department of
             Homeland Security); and the Federal Aviation Administration (“FAA”)). The
             referrals to the FAA and the Federal Law Enforcement Training Center were
             completed on March 23 and 29, 2023, respectively. The referrals to DOJ-OIP,
             DEA, and ATF are still outstanding because these offices must consult with
             others before processing the records at issue. The agencies are expecting to
             complete these referrals within the next month or two.
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       The parties will make their next monthly status report on July 20, 2023. We thank the
Court for its consideration of this matter.

                                            Respectfully,

                                            DAMIAN WILLIAMS
                                            United States Attorney

                                        By: __s/ Jean-David Barnea_________
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cc:   Counsel for plaintiffs (by ECF)
